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Case 3:13-cv-00017-HTW-LRA Document 1. Filed 01/07/13 Pagadian

IN THE UNITED STATES DISTRICT COURT pom "4

SOUTHERN DISTRICT OF MISSISSIPPI ;
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BY

SHIRLEY SKIPPER-SCOTT “PLAINIFR @
VS. CIVIL ACTION NO. a: IS QV I | HA —UCA
ERIC HOLDER, . DEFENDANT
ATTORNEY GENERAL
DEPARTMENT OF JUSTICE

COMPLAINT

COMES NOW, plaintiff, Shirley Skipper-Scott, pro se, and for cause of action

against the defendant(s), Eric Holder, Attorney General, Department of Justice, would state:

JURISDICTION
This matter is being brought in Southern District of Mississippi, because the plaintiff, Shirley
Skipper-Scott, was employed at the Federal Correctional Complex, Yazoo, City, Mississippi,
where she filed an Equal Opportunity Employment Commission (EEOC) complaint against the
United States Department of Justice, Federal Bureau of Prisons.
I.

Plaintiff is an adult resident citizen of the County of Madison, State of Mississippi.

The defendant Shirley Skipper-Scott is an adult resident citizen of the County of Madison

 

State of Mississippi.
FACTS

Plaintiff has been employed with the United States Department of Justice, Federal Bureau
of Prisons for 20 years and during her tenure at the Federal Correctional Complex, in Yazoo City,
Mississippi since 2005, she has experienced discrimination by her immediate supervisor. As a
result of her prior EEO activity, her immediate supervisor has discriminated against her by
providing negative comments and substandard ratings; she has prevented Plaintiff from
transferring or receiving a promotion. Plaintiff has applied for the following jobs: Case
Management Coordinator, FDC Hawaii; Case Management Coordinator, FDC Houston; Case
Management Coordinator, FCI and FDC Miami; Case Management Coordinator, FPC Pensacola,
Unit Manager, FPC Montgomery; Community Corrections Center Manager, Montgomery,
Alabama, Unit Manager, FCI Memphis; Program Specialist, Grand Prairie, Texas and Instructor,
STC Glynco, Georgia.

 
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After 20 years of service and working as a Correctional Officer, Unit Secretary, Case

Manager Trainee, Case Manager, Unit Manager, Assistant and Alternate Case

Management Coordinator, Plaintiff has never had a problem with any of my immediate
supervisors, which was more than 13 with her work performance. Plaintiff received numerous
awards and letters of accommodation while at these three facilities. Upon Plaintiff's arrival to
Yazoo from USP Coleman, her performance rating was Outstanding. Since that time, which is
six long, miserable and depressing years, she has been cheated out of receiving just evaluations,
which has resulted in her being stuck at the same pay grade and missing out on potential

- promotions.

For six years, Plaintiff has been physically ill. She has never been so sick in all her years on this
earth. She has gone to numerous doctors trying to figure out what was wrong with her.

Plaintiff has gained more than 80 pounds since her arrival to Yazoo. She has lost her will to
exercise, which she did daily before I came here. Plaintiff stays awake at night and when she falls
asleep, she wakes up angry and depressed because of a bad dream or nightmare about the horrible
supervisor and the hostile work environment that she has to go to everyday. Plaintiff constantly
worries about the unfair, nit-picking and discriminatory supervisor. She is angry and depressed
a lot and has to always be on the defense, waiting for the supervisor to attack. She wakes up in
the morning wondering what issue will it be today? Plaintiff used to love her job, but right now,
dealing with work every day takes everything out of her. At the end of the day, she goes home
with nothing else to give. It wasn’t until she sought the help of a therapist that she realized her
condition is the result of six years of harassment, reprisal and retaliation by her supervisor. It is
evident that her work performance exceeds the rating of Excellent and that due to her prior EEO
complaint; her immediate supervisor retaliated against her. Plaintiff has maintained numerous
electronic mails (e-mails), memorandums and other documentation to show that she has done all

that she could to resolve this issue with her immediate supervisor’s supervisors and the Wardens
at that time of incident.

The Plaintiff filed an EEOC complaint in 2010, and on July 12, 2012, in the EEOC case of the
Complainant, Shirley Skipper-Scott, vs. Eric Holder, Attorney General, Department of Justice,
the Honorable Eunice H. Morrow, Administrative Judge, rendered an Order Entering Judgment
in favorable of the Department of Justice, Federal Bureau of Prisons.

It must be noted that Judge Morrow attempted to deny the Plaintiff's EEOC complaint on two
occasions: (1) She cited the Plaintiff failed to provide a change of address. The Plaintiff was
able to provide proof to Judge Morrow that she was transferred to another duty location and
secured a Post Office box and had her mail forwarded to that address. Plaintiff also provided
proof/documentation to Judge Morrow that she has never missed any correspondence/orders that
have been sent to her by the court. Judge Morrow sent an order to not dismiss the case. (2)
Judge Morrow cited that Plaintiff failed to submit the requested documents to the court.
Plaintiff provided a copy of the certified receipt that someone in Judge Morrow’s office signed
for the requested documents that she sent. Judge Morrow, did not respond to the Plaintiff:
however, several days later, the Plaintiff received the Order Entering Judgment in favorable of
the Department of Justice, Federal Bureau of Prisons, from Judge Eunice Morrow. Plaintiff
couldn’t understand how there could be a fair ruling when days earlier, she had received an order
from Judge Morrow indicating Plaintiff had not submitted the requested documents. This is the
basis for the Plaintiff's civil complaint.

 
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RELIEF

Plaintiff is seeking compensatory damages in the amount of $300,000 for all the undue
stress caused by the harassment and hostile working environment; mental anguish; all paid
Attorney and legal and mailing fees, and back pay for the amount of money she missed out on
should she had been promoted to GS-13. ,

Plaintiff is respectfully requesting that the Courts appoint an Attorney to represent her in this
civil lawsuit. She has diligently made every effort to retain an Attorney, but to no avail.

Respectfully submitted, this the 31 day of December, 2012.

NAME, ADDRESS AND PHONE NUMBER OF PLAINTIFF:

Shirley Skipper-Scott
4301 Raleigh Court, Apt. #1308
Midland, Texas 79707

 

601-988-7452

 
